                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                              SOUTHERN DIVISION



AMERICAN FEDERATION OF                                 Case No 8:25-cv-00430-DLB
TEACHERS, et al.,

   Plaintiffs,

       v.

SCOTT BESSENT, et al.,

   Defendants.



                          DECLARATION OF GREG HOGAN

  1. My name is Greg Hogan. The following is based on my personal knowledge or
     information provided to me in the course of performing my duties, including information
     provided by the U.S. Office of Personnel Management’s (OPM) human resources
     department.

  2. I am currently employed at OPM as the Chief Information Officer. I began my service at
     OPM on January 20, 2025.

  3. In my role at OPM, I have the following responsibilities pursuant to 40 U.S.C. § 11315:

     a. I am responsible for the development and maintenance of OPM’s IT and information
        resources infrastructure.

     b. I advise agency leadership regarding the acquisition and management of IT resources.

     c. I am responsible for strategic planning regarding OPM’s information management
        functions. This includes developing strategies to ensure personnel interact with these
        systems securely and efficiently.

  4. Before joining OPM, I was Vice President of Infrastructure at comma.ai. I have more
     than 20 years of experience in the private sector in information technology and a degree
     in Computer Engineering.




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5. I am a full-time, noncareer Senior Executive Service employee at OPM. I am not a
   Special Government Employee. I have completed OPM’s required privacy, IT security,
   and ethics trainings.

6. On January 20, 2025, President Trump issued Executive Order 14,158, redesignating the
   United States Digital Service as the United States DOGE Service (USDS). The E.O.
   directs USDS to modernize government technology and software to increase efficiency
   and productivity. The E.O. further directs agency heads to grant USDS full and prompt
   access to all unclassified agency records, software systems, and IT systems to the
   maximum extent consistent with law, while requiring USDS to adhere to rigorous data
   protection standards. President Trump has also issued orders directing significant
   reforms of the federal workforce. USDS assists in that project too. See, e.g.,
   Implementing the President’s ‘Department of Government Efficiency’ Workforce
   Optimization Initiative, E.O. 14210 (Feb. 14, 2025).

7. I am not an employee or detailee at USDS or any other federal agency or instrumentality
   besides OPM.

8. OPM plays a critical role in overseeing and managing the federal workforce. Given that
   central role, numerous OPM employees, both political and career, have contributed to
   facilitating the President’s initiatives related to workforce reform, including the deferred
   resignation program that closed on February 12.

9. OPM employees who have participated in workforce reform, like all OPM employees,
   are subject to applicable privacy, ethics, and other requirements.

10. Many OPM employees involved in these efforts hold policymaking, legal, or similar
    positions that do not require access to sensitive data systems.

11. For systems engineers who require access to sensitive systems, such as eOPF and EHRI,
    OPM periodically reviews access permissions to ensure that they are limited to those with
    a need to know. For example, in early February, I directed my team to remove access to
    eOPF and EHRI for three engineers whose job duties do not require prospective access.

12. To the best of my knowledge, all individuals with access to sensitive OPM records
    systems who are working to implement Executive Order 14,158 are employees of OPM.
    They were all onboarded directly by OPM.

13. I am aware that some OPM employees also have employment relationships, such as detail
    agreements, with other agencies. Those employees are subject to applicable privacy
    requirements in their handling of OPM data. For example, one of the engineers who has
    participated in workforce reform efforts is a paid employee at another agency but
    simultaneously serves as an unpaid Special Government Employee at OPM. He does not


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have access to eOPF or EHRI. That individual has received records training, and the
memorandum of understanding between OPM and the other agency expressly states that
the employee shall not share any OPM data with the other agency without appropriate
permissions.

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I declare under penalty of perjury that the foregoing is true and correct.

Executed in Washington, DC this 17th day of February.


                                              __________________________
                                              Greg Hogan




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